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                                    IN THE UNITED STATES BANUPTCY COURT

                                             FOR THE DISTRICT OF DELAWAR

In re:                                                                  )           Chapter 11
                                                                        )
W. R. GRACE & CO., et aI.,l                                             )          Case No. 01-1139 (JKF)
                                                                        )          Jointly Administered
                                        Debtors.                        )


                                                      AFFIDAVIT OF SERVICE

STATE OF DELAWAR )
                                                            )SS
COUNTY OF NEW CASTLE )


                          Patricia E. Cuniff, being duly sworn according to law, deposes and says that she is

employed by the law firm of                   Pachulski Stang Ziehl & Jones LLP, co-counsel for the Debtors, in

the above-captioned action, and that on the 15th day of January, 2010, she caused a copy of the

following document(s) to be served upon the attached service list(s) in the manner indicated:




i The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/ka Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-I Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Ami            con, Inc., CB Biomedical, Inc. (fla
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food 'N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (fla Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Parters I, Inc. (f/k/a Grace Cocoa Limited Parters I, Inc.), G C Management, Inc. (f/ka Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasvile Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Driling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/ka GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/ka Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA Staffng Systems, Inc. (fla British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (fla Cross
Country Staffng), Hayden-Gulch West Coal Company, H-G Coal Company.




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                 NOTICE OF DEBTORS' MOTION FOR AN ORDER EXTENDING THE
                 TERM OF THE CREDIT AGREEMENT WITH ADVANCED REFINING
                 TECHNOLOGIES LLC;

                 DEBTORS' MOTION FOR AN ORDER EXTENDING THE TERM OF
                 THE CREDIT AGREEMENT WITH ADVANCED REFINING
                 TECHNOLOGIES LLC; AND

                 (PROPOSED) ORDER AUTHORIZING EXTENDING THE TERM OF
                 THE CREDIT AGREEMENT WITH ADVANCED REFINING
                 TECHNOLOGIES LLC.



                                                                          t1
                                                             atricia E. Cuniff




Notary P lIc
My Commission Expires: MONICA A. MOLITOR

                         Notary Public - State of Delaware
                             My Comm. Expires July 20,2010




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